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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH JAY and ANNIS JAY                      :
                                              :     CIVIL ACTION NO. 02-CV-3923
                      Plaintiffs,             :
                                              :
       v.                                     :
                                              :
BAYER CORPORATION;                            :     ENTRY OF APPEARANCE
BAYER AG;                                     :
GLAXOSMITHKLINE, PLC;                         :
GLAXOSMITHKLINE;                              :
SMITHKLINE BEECHAM                            :
                                              :
                      Defendants.             :


                                    ENTRY OF APPEARANCE

To the Clerk of the Court:
              Kindly enter the appearances of Hope S. Freiwald, Aline Fairweather, Alison T.

Conn and Kirstin J. Miller as attorneys for defendant SmithKline Beecham Corporation d/b/a

GlaxoSmithKline.

Respectfully Submitted,



_____________________________              _____________________________
Hope S. Freiwald                           Aline Fairweather



_____________________________              _____________________________
Alison T. Conn                             Kirstin J. Miller



Dated: August 19, 2002                     DECHERT PRICE & RHOADS
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